Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                       Page 1 of 22 PageID     13 2:32:21 PM
                                                                                         Filed 9/11/2015
                                                                                                   Patricia Henderson
                                                                                                          District Clerk
                                                                                                 Taylor County, Texas
                                                                                               Ashlee Stewart
                                               49159-A
                                  CAUSE NO.

  RICHARD DEMORE,                                                IN THE DISTRICT COURT OF•
       Plaintiff;

  V   .                                                               TAYLOR COUNTY, TEXAS

  HARTFORD ACCIDENT AND
  INDEMNITY COMPANY,
  CLIFFORD WALSH, AND ICHANNA
                                                                 Taylor 42nd District Court
  CARVER,
       Defendants.                                                             JUDICIAL DISTRICT


                              PLAINTIFF'S ORIGINAL PETITION


 TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Richard Demore ("Plaintiff') and files this, Plaintiff's Original Petition,

 complaining of Hartford Accident and Indemnity Company ("Hartford Accident"), Clifford

 Walsh ("Walsh"), and Khanna Carver ("Carver") (collectively referred to as "Defendants"), and

 for cause of action, Plaintiff would respectfully show this Honorable Court the following:

                                 DISCOVERY CONTROL PLAN

 1.       Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas

          Rules of Civil Procedure. This case involves complex issues and will require extensive

          discovery. Therefore, Plaintiff will ask the Court to order that discovery be conducted in

          accordance with a discovery control plan tailored to the particular circumstances of this

          suit.

                                             PARTIES

 2.       Plaintiff Richard Demore is an individual residing in Taylor County, Texas.

 3.       Defendant Hartford Accident is a foreign insurance company engaging in the business of

          insurance in the State of Texas. This defendant may be served with personal process, by




                                                                                              EXHIBIT C
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 2 of 22 PageID 14




      a process server, by serving its Attorney for Service: C T Corporation System, 1999

      Bryan Street, Suite 900, Dallas, Texas 75201.

 4.   Defendant Clifford Walsh is an individual residing in and domiciled in the State of

      California. This defendant may be served with personal process by a process server at his

      place of residence at 5721 Darby Road, Rocklin, California 95765.

 5.   Defendant Khanna Carver is an individual residing in and domiciled in the State of

      Mississippi. This defendant may be served with personal process by a process server at

      her place of residence at 10231 English Manor Drive, Gulfport, Mississippi 39503.

                                        JURISDICTION

 6.   The Court has jurisdiction over this cause of action because the amount in controversy is

      within the jurisdictional limits of the Court. Plaintiff is seeking monetary relief over

      $200,000 but not more than $1,000,000. Plaintiff reserves the right to amend his petition

      during and/or after the discovery process.

 7.   The Court has jurisdiction over Defendant Hartford Accident because this defendant is a

      foreign insurance company that engages in the business of insurance in the State of

      Texas, and Plaintiff's causes of action arise out of this defendant's business activities in -

      the State of Texas.

 8.   The Court has jurisdiction over Defendant Walsh because this defendant engages in the

      business of adjusting insurance claims in the State of Texas, and Plaintiff's causes of

      action arise out of this defendant's business activities in the State of Texas.

 9.   The Court has jurisdiction over Defendant Carver because this defendant engages in the

      business of adjusting insurance claims in the State of Texas, and Plaintiff's causes of

      action arise out of this defendant's business activities in the State of Texas.


                                                                                            Page 2
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 3 of 22 PageID 15




                                            VENUE

 10.   Venue is proper in Taylor County, Texas, because the insured property is situated in

       Taylor County, Texas. TEX. CIV. PRAC. & REM. CODE §15.032.

                                             FACTS

 11.   Plaintiff is the owners of a Texas Homeowners' Insurance Policy (hereinafter referred to

       as "the Policy"), which was issued by Hartford Accident.

 12.   Plaintiff owns the insured property, which is specifically located at 1850 Jameson Street,

       Abilene, Texas 79603, in Taylor County (hereinafter referred to as "the Property").

 13.   Hartford Accident sold the Policy insuring the Property to Plaintiff.

 14.   On or about June 12, 2014, a hail storm and/or windstorm struck Taylor County, Texas,

       causing severe damage to homes and businesses throughout the area, including Plaintiff's

       residence (hereinafter collectively referred to as "the Storm"). Specifically, Plaintiff's

       roof sustained extensive damage during the Storm. Plaintiff also sustained several

       structural and exterior damages to his home as results of the Storm including, but not

       limited to, damage to the exterior siding, window(s) and/or window screen(s), and the

       gutters. Water intrusion through the roof caused significant damage throughout the entire

       home and garage including, but not limited to, the home's ceilings, walls, insulation, and

       flooring. Plaintiff's home also sustained substantial structural and exterior damage

       during the Storm. Furthermore, Plaintiff sustained significant damage to his air

       conditioning unit, storage shed, and fence on the Property. Shortly after the June 12,

       2014 Storm, when the damages to the Property first became apparent and visible to

       Plaintiff, Plaintiff filed a claim with his insurance company, Hartford Accident, for the

       damages to his home caused by the hail storm and/or windstorm.


                                                                                             Page 3
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 4 of 22 PageID 16




 15.   Plaintiff submitted a claim to Hartford Accident against the Policy for Other Structure

       Damage, Roof Damage, Structural Damage, Water Damage, and Wind Damage the

       Property sustained as a result of the hail storm and/or windstorm.

 16.   Plaintiff asked that Hartford Accident cover the cost of repairs to the Property pursuant to

       the Policy, including but not limited to, repair and/or replacement of the roof and repair

       of the exterior, structural, and/or interior water damages to the Property, pursuant to the

       Policy.

 17.   On or about June 17, 2014, Plaintiff reported the damages to his home to Defendant

       Hartford Accident. Subsequently, Hartford Accident assigned Defendants Walsh and

       Carver as the individual adjusters on the claim. The adjuster assigned to Plaintiffs claim

       was improperly trained and failed to perform a thorough investigation of Plaintiff's

       claim. Specifically, Walsh conducted a substandard inspection of Plaintiffs Property

       during which failed to properly scope Plaintiff's entire home for hail and/or windstorm

       damages. For example, Walsh failed to conduct a thorough inspection to the entire

       interior of the Property thereby denying many of the properly covered Storm damages to

       the Property. Defendant Walsh's inadequate inspection is father evidenced by his June

       21, 2014 report, which failed to provide a fair and accurate assessment of Plaintiff's

       damages actually included in his inspection including, but not limited to, window(s)

       and/or window screen(s), garage, and the fence.

 18.   Furthermore, Walsh refused to acknowledge the extensive and obvious damage to the

       exterior siding—specifically, the exterior siding on the front elevation of the home. In

       fact, Walsh specifically stated in his report that "no damage was found" when, in fact, the

       substantial damages to the entire exterior siding, including the front elevation, warranted


                                                                                            Page 4
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 5 of 22 PageID 17




       total replacement. Moreover, the damages that Walsh actually included in his report

       were grossly undervalued, in part because he underpriced the cost of materials required

       for necessary repairs, including the allotment for the roof, and incorrectly applied

       material sales tax for certain items in determining the actual cash value of Plaintiff's loss

       under the Policy. Additionally, Walsh included a correspondence in his report to Plaintiff

       which he failed to give Plaintiff an adequate explanation as to why he undervalued so

       many of Plaintiff's damages from his report.

 19.   Although Walsh was aware of Plaintiff's reported potential damages covered by the

       Policy, he made determinations as to the amount of Plaintiff's claim without conducting

       thorough and reasonable inspection of Plaintiff's damages. Ultimately, Walsh failed to

       properly scope Plaintiff's damages, underestimated and undervalued the cost of repairs to

       the damaged items, thereby not allowing adequate funds to cover the cost of repairs to all

       the damages sustained.

 20.   Carver also actively participated in the handling of Plaintiff's claim but failed to conduct

       a reasonable investigation. Specifically, she corresponded with Plaintiff regarding his

       claim in letters ancUor reviewed reports, documents, and information regarding-the claim.

       Ultimately, Defendants Hartford and Carver failed to thoroughly review Defendant

       Walsh's assessment of the claim and ultimately approved and/or submitted an inaccurate

       report of the damages.

 21.   Defendant Hartford Accident along with Hartford Accident personnel, failed to

       adequately supervise, oversee, and review the work of the adjusters assigned to Plaintiff's

       claim, including Defendants Walsh and Carver. Had Hartford Accident performed even a

       cursory review of the estimate/report submitted and approved by Walsh and Carver,


                                                                                             Page 5
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 6 of 22 PageID 18




       Defendant Hartford Accident would have discovered that Plaintiffs claim was

       improperly adjusted. Unfortunately for Plaintiff, this did not happen.

 22.   Together, Defendants Hartford Accident, Walsh, and Carver set out to deny and/or

       underpay on properly covered damages. As a result of this unreasonable investigation,

       including the under-scoping of Plaintiffs storm damages during the investigation and

       failure to provide full coverage for the damages sustained, Plaintiffs claim was

       improperly adjusted, and he was denied adequate and sufficient payment to repair his

       home. The mishandling of Plaintiffs claim has also caused a delay in his ability to fully

       repair his home, which has resulted in additional damages. To date, Plaintiff has yet to

       receive the full payment to which he is entitled under the Policy.

 23.   As detailed in the paragraphs below, Hartford Accident wrongfully denied Plaintiffs

       claim for repairs of the Property, even though the Policy provided coverage for losses

       such as those suffered by Plaintiff. Furthermore, Hartford Accident underpaid some of

       Plaintiffs claims by not providing full coverage for the damages sustained by Plaintiff, as

       well as under-scoping the damages during its investigation.

 24.   To date, Hartford Accident continues to delay in the payment for the damages to the

       property. As such, Plaintiff has not been paid in full for the damages to his home.

 25.   Defendant Hartford Accident failed to perform its contractual duties to adequately

       compensate Plaintiff under the terms of the Policy. Specifically, it refused to pay the full

       proceeds of the Policy, although due demand was made for proceeds to be paid in an

       amount sufficient to cover the damaged property, and all conditions precedent to

       recovery upon the Policy had been carried out and accomplished by Plaintiff. Hartford




                                                                                             Page 6
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 7 of 22 PageID 19




       Accident's conduct constitutes a breach of the insurance contract between Hartford

       Accident and Plaintiff.

 26.   Defendants Hartford Accident, Walsh, and Carver misrepresented to Plaintiff that the

       damage to the Property was not covered under the Policy, even though the damage was

       caused by a covered occurrence. Defendants Hartford Accident's, Walsh's and Carver's

       conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.

       TEX. INS. CODE §541.060(a)(1).

 27.   Defendants Hartford Accident, Walsh, and Carver failed to make an attempt to settle

       Plaintiff's claim in a fair manner, although they were aware of their liability to Plaintiff

       under the Policy. Defendants Hartford Accident's, Walsh's, and Carver's conduct

       constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

       INS. CODE §541.060(a)(2)(A).

 28.   Defendants Hartford Accident, Walsh, and Carver failed to explain to Plaintiff the

       reasons for their offer of an inadequate settlement. Specifically, Defendants Hartford

       Accident, Walsh, and Carver failed to offer Plaintiff adequate compensation, without any

       explanation why full payment was not being made. Furthermore, Defendants Hartford

       Accident, Walsh, and Carver did not communicate that any future settlements or

       payments would be forthcoming to pay for the entire losses covered under the Policy, nor

       did they provide any explanation for the failure to adequately settle Plaintiff's claim.

       Defendants Hartford Accident's, Walsh's, and Carver's conduct is a violation of the

       Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(3).

 29.   Defendants Hartford Accident, Walsh, and Carver failed to affirm or deny coverage of

       Plaintiff's claim within a reasonable time. Specifically, Plaintiff did not receive timely

                                                                                            Page 7
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 8 of 22 PageID 20




       indication of acceptance or rejection, regarding the full and entire claim, in writing from

       Defendants Hartford Accident, Walsh, and Carver. Defendants Hartford Accident's,

       Walsh's, and Carver's conduct constitutes a violation of the Texas Insurance Code,

       Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(4).

 30.   Defendants Hartford Accident, Walsh, and Carver refused to fully compensate Plaintiff,

       under the terms of the Policy, even though Defendants Hartford Accident, Walsh, and

       Carver failed to conduct a reasonable investigation. Specifically, Defendants Hartford

       Accident, Walsh, and Carver performed an outcome-oriented investigation of Plaintiff's

       claim, which resulted in a biased, unfair, and inequitable evaluation of Plaintiffs losses

       on the Property. Defendants Hartford Accident's, Walsh's, and Carver's conduct

       constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

       INS. CODE §541.060(a)(7).

 31.   Defendant Hartford Accident failed to meet its obligations under the Texas Insurance

       Code regarding timely acknowledging Plaintiff's claim, beginning an investigation of

       Plaintiffs claim, and requesting all information reasonably necessary to investigate

       Plaintiff's claim, within the statutorily mandated time of receiving notice of Plaintiffs

       claim. Hartford Accident's conduct constitutes a violation of the Texas Insurance Code,

       Prompt Payment of Claims. TEX. INS. CODE §542.055.

 32.   Defendant Hartford Accident failed to accept or deny Plaintiff's full and entire claim

       within the statutorily mandated time of receiving all necessary information. Hartford

       Accident's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment

       of Claims. TEX. INS. CODE §542.056.




                                                                                            Page 8
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 9 of 22 PageID 21




 33.   Defendant Hartford Accident failed to meet its obligations under the Texas Insurance

       Code regarding payment of claim without delay. Specifically, it has delayed full

       payment of Plaintiff's claim longer than allowed and, to date; Plaintiff has not received

       full payment for his claim. Hartford Accident's conduct constitutes a violation of the

       Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.058.

 34.   From and after the time Plaintiff's claim was presented to Defendant Hartford Accident,

       the liability of Hartford Accident to pay the full claim in accordance with the terms of the

       Policy was reasonably clear. However, Hartford Accident has refused to pay Plaintiff in

       full, despite there being no basis whatsoever on which a reasonable insurance company

       would have relied to deny the full payment. Hartford Accident's conduct constitutes a

       breach of the common law duty of good faith and fair dealing.

 35.   Defendants Hartford Accident, Walsh, and Carver knowingly or recklessly made false

       representations, as described above, as to material facts and/or knowingly concealed all

       or part of material information from Plaintiff

 36.   As a result of Defendants Hartford Accident's, Walsh's, Carver's wrongful acts and

       omissions, Plaintiff was forced to retain the professional services of the attorney and law

       firm who are representing him with respect to these causes of action.

 37.   Plaintiff's experience is not an isolated case. The acts and omissions Hartford Accident

       committed in this case, or similar acts and omissions, occur with such frequency that they

       constitute a general business practice of Hartford Accident with regard to handling these

       types of claims. Hartford Accident's entire process is unfairly designed to reach

       favorable outcomes for the company at the expense of the policyholders.

                                    CAUSES OF ACTION:


                                                                                            Page 9
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 10 of 22 PageID 22




                      CAUSES OF ACTION AGAINST WALSH AND CARVER

                       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                             UNFAIR SETTLEMENT PRACTICES

 38.   As described above, Hartford Accident assigned Defendants Walsh and Carver to adjust

       Plaintiff's claim. Defendants Walsh and Carver were improperly trained to handle claims

       of this nature and performed an unreasonable investigation of Plaintiff's damages. As

       described more fully in paragraphs 17 through 20, during their investigation, Walsh and

       Carver failed to properly assess Plaintiff's hail storm and/or windstorm damages. They

       also omitted covered damages from the estimate(s) and/or report(s) on Plaintiff's claim,

       including many of Plaintiff's interior and exterior damages. In addition, the damages that

       Walsh and Carver did include final estimate(s) and/or report(s) on Plaintiff's claim were

       grossly underestimated. Walsh and Carver inadequate investigation of the claim was

       relied upon by the other Defendants named in this action and resulted in the undervaluing

       and underpayment of Plaintiff's claim.

 39.   As a result of Walsh's and Carver's mishandling and improper adjustment of Plaintiff's

       claim, Plaintiff had been delayed in his ability to fully repair his home, which has

       resulted in additional damages to the home and caused Plaintiff to suffer other damages.

       To this date, Plaintiff has yet to receive the full payment to which he os rightfully entitled

       under the Policy and thus, continue to suffer damages, including the loss of use and

       enjoyment of his home.

 40.   Defendants Walsh's and Carver's conduct constitutes multiple violations of the Texas

       Insurance Code, Unfair Settlement Practices.          TEX. INS. CODE      §541.060(a). All

       violations under this article are made actionable by TEX. INS. CODE §541.151.



                                                                                             Page 10
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                  Page 11 of 22 PageID 23




  41.   Defendants Walsh and Carver are each individually liable for their unfair and deceptive

        acts, irrespective of the fact each was acting on behalf of Hartford Accident, because each

        is a "person" as defined by TEX. INS. CODE §541.002(2). The term "person" is defined as

        "any individual, corporation, association, partnership, reciprocal or interinsurance

        exchange, Lloyds plan, fraternal benefit society, or other legal entity engaged in the

        business of insurance, including an agent, broker, adjuster or life and health insurance

        counselor." TEX. INS. CODE §541.002(2) (emphasis added; see also Liberty Mutual

        Insurance Co. v. Garrison Contractors, Inc., 966 S.W.2d 482, 484 (Tex. 1998)) (holding

        an insurance company employee to be a "person" for the purpose of bringing a cause of

        action against him or her under the Texas Insurance Code and subjecting him or her to

        individual liability).

  42. Falsehoods and misrepresentations may be communicated by actions as well as by the

        spoken word; therefore, deceptive conduct is equivalent to a verbal representation.

        Defendants' misrepresentations by means of deceptive conduct include, but are not

        limited to: (1) failing to conduct a reasonable inspection and investigation of Plaintiffs

        damages; (2) stating that Plaintiffs damages were less severe than they in fact were; (3)

        using his/her own statements about the non-severity of the damage as a basis for denying

        properly covered damages and/or underpaying damages; and (4) failing to provide an

        adequate explanation for the inadequate compensation Plaintiff received. Defendants

        Walsh's and Carver's unfair settlement practice, as described above and the example

        given herein, of misrepresenting to Plaintiff material facts relating to the coverage at

        issue, constitutes an unfair method of competition and an unfair and deceptive act or

        practice in the business of insurance. TEX. INS. CODE §541.060(a)(1).

                                                                                           Page 11
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 12 of 22 PageID 24




  43.   Defendants Walsh's and Carver's unfair settlement practice, as described above, of

        failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the

        claim, even though liability under the Policy is reasonably clear, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEX. INS. CODE §541.060(a)(2)(A).

  44.   Defendants Walsh and Carver failed to explain to Plaintiff the reasons for their offer of

        an inadequate settlement. Specifically, Defendants Walsh and Carver failed to offer

        Plaintiff adequate compensation without any explanation as to why full payment was not

        being made. Furthermore, Defendants did not communicate that any future settlements

        or payments would be forthcoming to pay for the entire losses covered under the Policy,

        nor did they provide any explanation for the failure to adequately settle Plaintiff's claim.

        The unfair settlement practice of Defendants Walsh and Carver as described above, of

        failing to promptly provide Plaintiff with a reasonable explanation of the basis in the

        Policy, in relation to the facts or applicable law, for the offer of a compromise settlement

        of Plaintiff's claim, constitutes an unfair method of competition and an unfair and

        deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

  45.   Defendants Walsh's and Carver's unfair settlement practice, as described above, of

        failing within a reasonable time to affirm or deny coverage of the claim to Plaintiff, or to

        submit a reservation of rights to Plaintiff, constitutes an unfair method of competition and

        an unfair and deceptive act or practice in the business of insurance. TEX. INS.. CODE

        §541.060(a)(4).

  46.   Defendants Walsh and Carver did not properly inspect the Property and failed to account

        for and/or undervalued many of Plaintiff's exterior and interior damages, although


                                                                                              Page 12
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 13 of 22 PageID 25




        reported by Plaintiff to Hartford Accident. Defendants Walsh's and Carver's unfair

        settlement practice, as described above, of refusing to pay Plaintiffs claim without

        conducting a reasonable investigation, constitutes an unfair method of competition and an

        unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

        §541.060(a)(7).

                          CAUSES OF ACTION AGAINST ALL DEFENDANTS

  47.   Plaintiff is not making any claims for relief under federal law.

                                              FRAUD

  48.   Defendants Hartford Accident, Walsh, and Carver are liable to Plaintiff for common law

        fraud.

  49.   Each and every one of the representations, as described above, concerned material facts

        for the reason that absent such representations, Plaintiff would not have acted as they did,

        and which Defendants Hartford Accident, Walsh, and Carver knew were false or made

        recklessly without any knowledge of their truth as a positive assertion.

  50.   The statements were made with the intention that they should be acted upon by Plaintiff,

        who in turn acted in reliance upon the statements, thereby causing Plaintiff to suffer

        injury and constituting common law fraud.

                                CONSPIRACY TO COMMIT FRAUD

  51.   Defendants Hartford Accident, Walsh, and Carver are liable to Plaintiff for conspiracy to

        commit fraud. Defendants Hartford Accident, Walsh, and Carver were members of a

        combination of two or more persons whose object was to accomplish an unlawful

        purpose or a lawful purpose by unlawful means. In reaching a meeting of the minds

        regarding the course of action to be taken against Plaintiff, Defendants Hartford


                                                                                            Page 13
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 14 of 22 PageID 26




       Accident, Walsh, and Carver committed an unlawful, overt act to further the object or

       course of action. Plaintiff suffered injury as a proximate result.

                  CAUSES OF ACTION AGAINST HARTFORD ACCIDENT ONLY

 52.   Defendant Hartford Accident is liable to Plaintiff for intentional breach of contract, as

       well as intentional violations of the Texas Insurance Code, and intentional breach of the

       common law duty of good faith and fair dealing.

                                     BREACH OF CONTRACT

 53.   Defendant Hartford Accident's conduct constitutes a breach of the insurance contract

       made between Hartford Accident and Plaintiff

 54.   Defendant Hartford Accident's failure and/or refusal, as described above, to pay the

       adequate compensation as it is obligated to do under the terms of the Policy in question,

       and under the laws of the State of Texas, constitutes a breach of Hartford Accident's

       insurance contract with Plaintiff

                      NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                            UNFAIR SETTLEMENT PRACTICES

 55.   Defendant Hartford Accident's conduct constitutes multiple violations of the Texas

       Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations

       under this article are made actionable by TEX. INS. CODE §541.151.

 56.   Defendant Hartford Accident's unfair settlement practice, as described above, of

       misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an

       unfair method of competition and an unfair and deceptive act or practice in the business

       of insurance. TEX. INS. CODE §541.060(a)(1).

 57.   Defendant Hartford Accident's unfair settlement practice, as described above, of failing

       to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,
                                                                                            Page 14
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                  Page 15 of 22 PageID 27




       even though Hartford Accident's liability under the Policy was reasonably clear,

       constitutes an unfair method of competition and an unfair and deceptive act or practice in

       the business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

 58.   Defendant Hartford Accident's unfair settlement practice, as described above, of failing

       to promptly provide Plaintiff with a reasonable explanation of the basis in the Policy, in

       relation to the facts or applicable law, for its offer of a compromise settlement of the

       claim, constitutes an unfair method of competition and an unfair and deceptive act or

       practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

 59.   Defendant Hartford Accident's unfair settlement practice, as described above, of failing

       within a reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit

       a reservation of rights to Plaintiff, constitutes an unfair method of competition and an

       unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

       §541.060(a)(4).

 60.   Defendant Hartford Accident's unfair settlement practice, as described above, of refusing

       to pay Plaintiffs claim without conducting a reasonable investigation, constitutes an

       unfair method of competition and an unfair and deceptive act or practice in the business

       of insurance. TEX. INS. CODE §541.060(a)(7).

                      NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                           THE PROMPT PAYMENT OF CLAIMS

 61.   Defendant Hartford Accident's conduct constitutes multiple violations of the Texas

       Insurance Code, Prompt Payment of Claims. All violations made under this article are

       made actionable by TEX. INS. CODE §542.060.

 62.   Defendant Hartford Accident's failure to acknowledge receipt of Plaintiffs claim,

       commence investigation of the claim, and request from Plaintiff all items, statements, and
                                                                                          Page 15
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                   Page 16 of 22 PageID 28




        forms that it reasonably believed would be required within the applicable time

        constraints, as described above, constitutes a non-prompt payment of claims and a

        violation of TEX. INS. CODE §542.055.

  63.   Defendant Hartford Accident's failure to notify Plaintiff in writing of its acceptance or

        rejection of the claim within the applicable time constraints, constitutes a non-prompt

        payment of the claim. TEX. INS. CODE §542.056.

  64.   Defendant Hartford Accident's delay of the payment of Plaintiffs claim following its

        receipt of all items, statements, and forms reasonably requested and required, longer than

        the amount of time provided for, as described above, constitutes a non-prompt payment

        of the claim. TEX. INS. CODE §542.058.

                            ACTS CONSTITUTING ACTING As AGENT

  65.   As referenced and described above, and further conduct throughout this litigation and

        lawsuit, Walsh and Carver are agents of Hartford Accident based on their acts during the

        handling of this claim, including inspections, adjustments, and aiding in adjusting a loss

        for or on behalf of the insurer. TEX. INS. CODE §4001.051.

  66.   Separately, and/or in the alternative, as referenced and described above, Hartford

        Accident ratified the actions and conduct of Walsh and Carver including the completion

        of their duties under the common law and statutory law.

                  BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

 67.    Defendant Hartford Accident's conduct constitutes a breach of the common law duty of

        good faith and fair dealing owed to insureds in insurance contracts.

 68.    Defendant Hartford Accident's failure, as described above, to adequately and reasonably

        investigate and evaluate Plaintiffs claim, although, at that time, Hartford Accident knew


                                                                                          Page 16
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 17 of 22 PageID 29




        or should have known by the exercise of reasonable diligence that its liability was

        reasonably clear, constitutes a breach of the duty of good faith and fair dealing.

                                         KNOWLEDGE

 69.    Each of the acts described above, together and singularly, was done "knowingly," as that

        term is used in the Texas Insurance Code, and was a producing cause of Plaintiff's

        damages described herein.

                                            DAMAGES

  70.   Plaintiff would show that all of the aforementioned acts, taken together or singularly,

        constitute the producing causes of the damages sustained by Plaintiff

  71.   As previously mentioned, the damages caused by the June 12, 2014, hail storm and/or

        windstorm have not been properly addressed or repaired in the months since the Storm,

        causing further damages to the Property, and causing undue hardship and burden to

        Plaintiff. These damages are a direct result of Defendants Hartford Accident's, Walsh's,

        and Carver's mishandling of Plaintiff's claim in violation of the laws set forth above.

  72.   For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which is

        the amount of his claim, together with attorney's fees.

  73.   For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

        is entitled to actual damages, which include the loss of the benefits that should have been

        paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

        conduct of the acts described above, Plaintiff asks for three times his actual damages.

        TEX. INS. CODE §541.152.

  74.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

        entitled to the amount of his claim, as well as eighteen (18) percent interest per annum on


                                                                                             Page 17
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 18 of 22 PageID 30




        the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

        §542.060.

  75.   For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

        compensatory damages, including all forms of loss resulting from the insurer's breach of

        duty, such as additional costs, economic hardship, losses due to nonpayment of the

        amount the insurer owed, exemplary damages, and damages for emotional distress.

  76.   For fraud, Plaintiff is entitled to recover actual damages and exemplary damages for

        knowingly fraudulent and malicious representations, along with attorney's fees, interest,

        and court costs.

  77.   For the prosecution and collection of this claim, Plaintiff has been compelled to engage

        the services of the attorney whose name is subscribed to this pleading. Therefore,

        Plaintiff is entitled to recover a sum for the reasonable and necessary services of

        Plaintiff's attorney in the preparation and trial of this action, including any appeals to the

        Court of Appeals and/or the Supreme Court of Texas.

                                         JURY DEMAND

  78.   Plaintiff hereby requests that all causes of action alleged herein be tried before a jury

        consisting of citizens residing in Taylor County, Texas. Plaintiff hereby tenders the

        appropriate jury fee.

                                    WRITTEN DISCOVERY

                                   REQUESTS FOR DISCLOSURE

 79.    Plaintiff's Request for Disclosure to Defendant Hartford Accident and Indemnity

        Company is attached as "Exhibit A." Plaint's Request for Disclosure to Defendant




                                                                                              Page 18
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                      Page 19 of 22 PageID 31




          Clifford Walsh is attached as "Exhibit A-1."       Plaintiff's Request for Disclosure to

          Defendant Khanna Carver is attached as "Exhibit A-2."

                                              PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

  Plaintiff have and recover such sums as would reasonably and justly compensate him in

  accordance with the rules of law and procedure, as to actual damages, treble damages under the

  Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

  Plaintiff requests the award of attorney's fees for the trial and any appeal of this case, for all

  costs of Court on his behalf expended, for prejudgment and postjudgment interest as allowed by

  law, and for any other and further relief, either at law or in equity, to which he may show himself

  justly entitled.



                                               Respectfully submitted,

                                               MOSTYN LAW



                                                /s/ Rene M Sigman
                                               Rene M. Sigman
                                               State Bar No. 24037492
                                               rmsdocketefile@mostynlaw.com
                                               3810 West Alabama Street
                                               Houston, Texas 77027
                                               (713) 714-0000 (Office)
                                               (713) 714-1111 (Facsimile)

                                               ATTORNEY FOR PLAINTIFF




                                                                                             Page 19
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 20 of 22 PageID 32




                                         "EXHIBIT A"

                                 CAUSE NO.

   RICHARD DEMORE,                                             IN THE DISTRICT COURT OF
        Plaintiff;

   V.                                                              TAYLOR COUNTY, TEXAS

   HARTFORD ACCIDENT AND
   INDEMNITY COMPANY,
   CLIFFORD WALSH, AND KHANNA
   CARVER,
        Defendants.                                                       JUDICIAL DISTRICT

              PLAINTIFF'S REQUEST FOR DISCLOSURE TO DEFENDANT
                HARTFORD ACCIDENT AND INDEMNITY COMPANY

  TO: DEFENDANT HARTFORD ACCIDENT AND INDEMNITY COMPANY, by and
       through its Attorney for Service: C T Corporation System, 1999 Bryan Street, Suite 900,
       Dallas, Texas 75201.

        Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that the
 above-named Defendant, Hartford Accident and Indemnity Company (hereinafter referred to as
 "Defendant"), disclose, within fifty-one (51) days after the date of service of this request, the
 information or material described in Rule 194.2.

                                             Respectfully submitted,

                                             MOSTYN LAW



                                              /s/ Rene M Sigman
                                             Rene M. Sigman
                                             State Bar No. 24037492
                                             rmsdocketefile@mostynlaw.com
                                             3810 West Alabama Street
                                             Houston, Texas 77027
                                             (713) 714-0000 (Office)
                                             (713) 714-1111 (Facsimile)

                                             ATTORNEY FOR PLAINTIFF




                                                                                          Page 20
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 21 of 22 PageID 33




                                        "EXHIBIT A-1"

                                 CAUSE NO.

  RICHARD DEMORE,                                              IN THE DISTRICT COURT OF
         Plaintiff;

  V.                                                               TAYLOR COUNTY, TEXAS

  HARTFORD ACCIDENT AND
  INDEMNITY COMPANY,
  CLIFFORD WALSH, AND ICHANNA
  CARVER,
         Defendants.                                                      JUDICIAL DISTRICT

             PLAINTIFF'S REQUEST FOR DISCLOSURE TO DEFENDANT
                             CLIFFORD WALSH

 TO: DEFENDANT CLIFFORD WALSH, at his place of residence at 5721 Darby Road,
      Rocklin, California 95765.

        Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that the
 above-named Defendant, Clifford Walsh (hereinafter referred to as "Defendant"), disclose,
 within fifty-one (51) days after the date of service of this request, the information or material
 described in Rule 194.2.

                                             Respectfully submitted,

                                             MOSTYN LAW



                                              /s/ Rene M Sigman
                                             Rene M. Sigman
                                             State Bar No. 24037492
                                             rmsdocketefile@mostynlaw.com
                                             3810 West Alabama Street
                                             Houston, Texas 77027
                                             (713) 714-0000 (Office)
                                             (713) 714-1111 (Facsimile)

                                             ATTORNEY FOR PLAINTIFF




                                                                                          Page 21
Case 1:15-cv-00206-P-BL Document 1-5 Filed 10/28/15                    Page 22 of 22 PageID 34




                                        "EXHIBIT A-2"

                                 CAUSE NO.

  RICHARD DEMORE,                                              IN THE DISTRICT COURT OF
         Plaintiff;

  V.                                                               TAYLOR COUNTY, TEXAS

  HARTFORD ACCIDENT AND
  INDEMNITY COMPANY,
  CLIFFORD WALSH, AND ICHANNA §
  CARVER,
         Defendants.                            §                         JUDICIAL DISTRICT

             PLAINTIFF'S REQUEST FOR DISCLOSURE TO DEFENDANT
                              ICHANNA CARVER

 TO:    DEFENDANT KHANNA CARVER, at her place of residence at 10231 English Manor
        Drive, Gulfport, Mississippi 39503.

        Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that the
 above-named Defendant, Khanna Carver (hereinafter referred to as "Defendant"), disclose,
 within fifty-one (51) days after the date of service of this request, the information or material
 described in Rule 194.2.

                                             Respectfully submitted,

                                             MOSTYN LAW



                                              /s/ Rene M Sigman
                                             Rene M. Sigman
                                             State Bar No. 24037492
                                             rmsdocketefile@mostynlaw.com
                                             3810 West Alabama Street
                                             Houston, Texas 77027
                                             (713) 714-0000 (Office)
                                             (713) 714-1111 (Facsimile)

                                             ATTORNEY FOR PLAINTIFF




                                                                                           Page 22
